     Case 1:06-cr-00018-PB   Document 71   Filed 12/08/06   Page 1 of 2




                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                      Case No. 06-cr-18-PB

Travis Blodgett and
Avery Blodgett


                               O R D E R


     The defendants have moved to continue the December 5, 2006

trial in the above case, citing the need for additional time to

complete pretrial matters and prepare a defense.            The government

does not object to a continuance of the trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from December 5, 2006 to January 9, 2007.              In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial.
      Case 1:06-cr-00018-PB   Document 71   Filed 12/08/06   Page 2 of 2




      The court will hold a final pretrial conference on December

19, 2007 at 4:30 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

December 4, 2006

cc:   Richard Foley, Esq.
      Glenn Geiger, Esq.
      Donald Feith, AUSA
      United States Probation
      United States Marshal




                                     2
